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IN THE UNITED STA'I`ES DISTRICT COURT FI;ED B.?, t

 

 

FoR THE WESTERN DISTRICT oF TENNESSEE w D_(\
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l“"‘”f"’f?f faa
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UNITED sTATEs oF AMERICA ) ita g jrle 99; GOUW
) " wst
Plaintiff, )
)
vs ) CR. No. 04-20194-01_13
)
MARTINO Mc NEAL )
)
Defendant. )
oRDER To sURRENDER

 

The defendant, Martino Mc Neal, having been sentenced in the above case to the custody of
the Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Forrest City,
(P.O. Box 7000) 1400 Dale Bumpers Road, Forrest City, AR 72335

by 2:00 p.m. on FRIDAY, SEPTEMBER 30, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federa] Office Building, 167 N. Main Street, Roorn 242,
Mernphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

41
ENTERED this the let day er Augusc, 2005.

 

J. D NIEL BREE`N \'
UNI ED sTATEs I)ISTRICT JUDGE

Tnis document entered on the docket sheet in compliance
with nine 55 and/or 32th nach un ’ 1 05

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 2:04-CR-20194 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Edvvin A. Perry

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Ste. 200

l\/lemphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

